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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DAMIEN GUEDES, et al.                                  :
                                                       :
                                Plaintiffs             :
                 v.                                    :       Civil Action No. 1:18-cv-2988
                                                       :
BUREAU OF ALCOHOL, TOBACCO,                            :
FIREARMS AND EXPLOSIVES, et al.                        :
                                                       :
                                Defendants             :

                                NOTICE OF FILING EXHIBITS


         Plaintiffs hereby give notice of filing the exhibits listed below, which were exhibits to

Firearm Policy Coalition, Inc.’s and Firearm Policy Foundation’s Comment in Opposition of the

Notice of Proposed Rulemaking. 1 Due to their nature, they are unable to be filed electronically

through the Court’s ECF System.



        Exhibit Number                       Description                       Location

                                                                    This exhibit is maintained by
                                             Video:
                                                                     counsel and available upon
                                    Iraqveteran8888, Worlds
                                                                        request. As it is video
                3                   Fastest Shooter vs Bump
                                                                    footage, the exhibit is not in a
                                     Fire! – Guns Reviews,
                                                                      format that readily permits
                                   YouTube, October 13, 2014
                                                                           electronic filing.



                                   Video: Miculek.com, AR-15        This exhibit is maintained by
                                     5 shots in 1 second with        counsel and available upon
                4                   fastest shooter ever, Jerry         request. As it is video
                                      Miculek (Shoot Fast!),        footage, the exhibit is not in a
                                     YouTube, June 20, 2013           format that readily permits
                                                                           electronic filing.


1
    Firearm Policy Coalition’s comment is Exhibit A to the complaint.
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                                                 This exhibit is maintained by
                       Video: Shooting            counsel and available upon
   11             Videos, Rapid manual trigger       request. As it is video
                  manipulation (Rubber Band      footage, the exhibit is not in a
                      Assisted), YouTube,          format that readily permits
                      December 14, 2006                 electronic filing.

                                                 This exhibit is maintained by
                   Video: StiThis1, AK-47 75      counsel and available upon
                    round drum Bumpfire!!!,          request. As it is video
   12
                  YouTube, September 5, 2011     footage, the exhibit is not in a
                                                   format that readily permits
                                                        electronic filing.
                                                 This exhibit is maintained by
                             Video:
                                                  counsel and available upon
                  ThatGunGuy45, ‘Bump Fire’
                                                     request. As it is video
   13              without a bump-fire stock,
                                                 footage, the exhibit is not in a
                  courtesy of ThatGunGuy45,
                                                   format that readily permits
                  YouTube, October 13, 2017
                                                        electronic filing.

                                                 This exhibit is maintained by
                      Video: M45, How to
                                                  counsel and available upon
                   bumpfire without bumpfire
                                                     request. As it is video
   14              stock, YouTube, October 8,
                                                 footage, the exhibit is not in a
                             2017
                                                   format that readily permits
                                                        electronic filing.


                  Video: Vice News, Meet One     This exhibit is maintained by
                     Of The Analysts Who          counsel and available upon
                    Determined That Bump             request. As it is video
   17
                      Stocks Were Legal,         footage, the exhibit is not in a
                  YouTube, October 11, 2017        format that readily permits
                                                        electronic filing.
                                                 This exhibit is maintained by
                    Video: Fastest Shooter OF     counsel and available upon
   18              ALL TIME! Jerry Miculek |         request. As it is video
                  Incredible Shooting Montage,   footage, the exhibit is not in a
                       DailyMotion, 2014           format that readily permits
                                                        electronic filing.
                                                 This exhibit is maintained by
                  Video: Molon Labe, hogan 7      counsel and available upon
   26             m16.wmv, YouTube, October          request. As it is video
                          25, 2011               footage, the exhibit is not in a
                                                   format that readily permits
Case 1:18-cv-02988-DLF Document 1-1 Filed 12/18/18 Page 3 of 3




                                                        electronic filing.
   28             Video: Adam Kraut Esq. and     This exhibit is maintained by
                       Patton Media and           counsel and available upon
                       Consulting, Bump              request. As it is video
                  Stock Analytical Video, June   footage, the exhibit is not in a
                           14, 2018                format that readily permits
                                                        electronic filing.




                                Respectfully Submitted,


                                ________________________
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